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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                           Southern District of Texas
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   04/16
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               EXCO Resources, Inc.


                                                 TXOK Energy Resources Company; EXCO Midcontinent Division; EXCO Permian-Rockies
2. All other names debtor used
   in the last 8 years                           Division

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                                 Mailing address, if different from principal place
                                                                                                      of business
                                          12377 Merit Drive
                                          Number            Street                                    Number         Street

                                          Suite 1700
                                                                                                      P.O. Box
                                          Dallas                          TX         75251
                                          City                            State      Zip Code         City                         State      Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                          Dallas County
                                          County                                                      Number         Street




                                                                                                      City                         State      Zip Code


5. Debtor’s website (URL)                 www.excoresources.com/

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:




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Debtor            EXCO Resources, Inc.                                             Case number (if known)
           Name



                                            A. Check One:
7.   Describe debtor’s business
                                            ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                            ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                            ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                            ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                            ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                            ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                            ☒ None of the above

                                            B. Check all that apply:
                                            ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                            ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                            ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            2111 (Oil and Gas Extraction)

8. Under which chapter of the               Check One:
   Bankruptcy Code is the
   debtor filing?                           ☐ Chapter 7

                                            ☐ Chapter 9

                                            ☒ Chapter 11. Check all that apply:

                                                              ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                                4/01/19 and every 3 years after that).
                                                              ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                of operations, cash-flow statement, and federal income tax return, or if all of these
                                                                documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                              ☐ A plan is being filed with this petition.

                                                              ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).
                                                              ☒ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                              ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                            ☐ Chapter 12

9. Were prior bankruptcy cases           ☒ No
   filed by or against the debtor        ☐ Yes.    District                           When                      Case number
   within the last 8 years?                                                                    MM/DD/YYYY
     If more than 2 cases, attach a                District                           When                      Case number
     separate list.                                                                            MM/DD/YYYY

10. Are any bankruptcy cases             ☐ No
    pending or being filed by a          ☒ Yes.                                                                 Relationship     Affiliate
                                                   Debtor      See Rider 1
    business partner or an
    affiliate of the debtor?                       District    Southern District of Texas
     List all cases. If more than 1,                                                                            When             01/15/2018
     attach a separate list.                       Case number, if known _______________________                                 MM / DD / YYYY



     Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 2
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Debtor           EXCO Resources, Inc.                                              Case number (if known)
          Name



11. Why is the case filed in this       Check all that apply:
    district?
                                        ☒   Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.
                                        ☐   A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have         ☒ No
    possession of any real              ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                          Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                  ☐    It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                       safety.
                                                       What is the hazard?

                                                  ☐    It needs to be physically secured or protected from the weather.

                                                   ☐   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).
                                                  ☐    Other


                                                  Where is the property?
                                                                                      Number          Street



                                                                                      City                                  State       Zip Code



                                                  Is the property insured?
                                                  ☐ No

                                                  ☐ Yes.    Insurance agency

                                                            Contact name
                                                            Phone




                       Statistical and administrative information

13. Debtor's estimation of            Check one:
    available funds
                                      ☒ Funds will be available for distribution to unsecured creditors.
                                      ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of               ☐      1-49                      ☐     1,000-5,000                        ☐    25,001-50,000
    creditors                         ☐      50-99                     ☐     5,001-10,000                       ☐    50,001-100,000
                                      ☐      100-199                   ☒     10,001-25,000                      ☐    More than 100,000
                                      ☐      200-999



15. Estimated assets                  ☐      $0-$50,000                ☐     $1,000,001-$10 million              ☒   $500,000,001-$1 billion
                                      ☐      $50,001-$100,000          ☐     $10,000,001-$50 million             ☐   $1,000,000,001-$10 billion
                                      ☐      $100,001-$500,000         ☐     $50,000,001-$100 million            ☐   $10,000,000,001-$50 billion
                                      ☐      $500,001-$1 million       ☐     $100,000,001-$500 million           ☐   More than $50 billion




   Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 3
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Debtor           EXCO Resources, Inc.                                                Case number (if known)
          Name



16. Estimated liabilities            ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☐   $500,000,001-$1 billion
                                     ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☒   $1,000,000,001-$10 billion
                                     ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☐   $10,000,000,001-$50 billion
                                     ☐      $500,001-$1 million          ☐    $100,000,001-$500 million              ☐   More than $50 billion

                   Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of         petition.
    debtor
                                         I have been authorized to file this petition on behalf of the debtor.
                                         I have examined the information in this petition and have a reasonable belief that the information is true and
                                         correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                         Executed on            01/15/2018
                                                              MM/ DD / YYYY


                                              /s/ Tyler Farquharson                                              Tyler Farquharson
                                              Signature of authorized representative of debtor                Printed name

                                              Title          Chief Financial Officer, Treasurer, and Vice President




18. Signature of attorney                     /s/ Marcus A. Helt                                             Date        01/15/2018
                                              Signature of attorney for debtor                                           MM/ DD/YYYY



                                              Marcus A. Helt
                                              Printed name
                                              Gardere Wynne Sewell LLP
                                              Firm name
                                              1000 Louisiana St., Suite 2000
                                              Number                  Street
                                              Houston                                                                Texas             77002
                                              City                                                                   State               ZIP Code

                                              (713) 276-5178                                                         mhelt@gardere.com
                                              Contact phone                                                              Email address
                                              24052187                                            Texas
                                              Bar number                                          State




   Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 4
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    Official Form 201A (12/15)



                                           IN THE UNITED STATES BANKRUPTCY COURT
                                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                                       HOUSTON DIVISION

                                                                             )
     In re:                                                                  )      Chapter 11
                                                                             )
     EXCO RESOURCES, INC.,                                                   )       Case No. 18-___________(___)
                                                                             )
                                       Debtor.                               )
                                                                             )

    Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11

          1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file
      number is   001-32743

          2. The following financial data is the latest available information and refers to the debtor’s condition on
      September 30, 2017


              (a)   Total assets                                                    $    829,095,000
              (b)   Total debts (including debts listed in 2.c., below)             $    1,355,377,000
              (c)   Debt securities held by more than 500 holders
                                                                                                                         Approximate
                                                                                                                         number of
                                                                                                                         holders:
              secured     ☐    unsecured     ☐    subordinated       ☐       $
              secured     ☐    unsecured     ☐    subordinated       ☐       $
              secured     ☐    unsecured     ☐    subordinated       ☐       $
              secured     ☐    unsecured     ☐    subordinated       ☐       $
              secured     ☐    unsecured     ☐    subordinated       ☐       $


              (d)   Number of shares of preferred stock                                                                  0
              (e)   Number of shares of common stock                                                                     21,670,1861


              Comments, if any:




              3.    Brief description of debtor’s business:

      The Debtor is an independent oil and natural gas company engaged in the exploration, exploitation, acquisition,
      development and production of onshore U.S. oil and natural gas properties with a focus on shale resource plays.
      Principal operations are conducted in certain key U.S. oil and natural gas areas including Texas, Louisiana and the
      Appalachia region.

           4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the
      voting securities of debtor:

      Energy Strategic Advisory Services LLC (29.56%); Fairfax Financial Holdings Limited (16.1%); WL Ross & Co. LLC
      (12.5%); Oaktree Capital Management Funds (8.29%)




1
    As of January 10, 2018.




    Official Form 201A                                        Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
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      Fill in this information to identify the case:


 United States Bankruptcy Court for the:
                            Southern District of Texas
                                          (State)                                                    ☐ Check if this is an
 Case number (if known):                                 Chapter   11                                    amended filing


                                                      Rider 1
                       Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the Southern District of Texas for relief under chapter 11 of title 11 of the United States
Code. The Debtors have moved for joint administration of these cases under the case number assigned to the
chapter 11 case of EXCO Resources, Inc.

 EXCO Resources, Inc.
 EXCO GP Partners Old, LP
 EXCO Holding (PA), Inc.
 EXCO Holding MLP, Inc.
 EXCO Land Company, LLC
 EXCO Midcontinent MLP, LLC
 EXCO Operating Company, LP
 EXCO Partners GP, LLC
 EXCO Partners OLP GP, LLC
 EXCO Production Company (PA), LLC
 EXCO Production Company (WV), LLC
 EXCO Resources (XA), LLC
 EXCO Services, Inc.
 Raider Marketing GP, LLC
 Raider Marketing, LP
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                     RESOLUTION OF THE BOARD OF DIRECTORS OF
                              EXCO RESOURCES, INC.

      At a telephonic meeting on January 15, 2018 of the board of directors (the “Board”) of
EXCO Resources, Inc., a Texas corporation (the “Company”), upon a motion duly made and
seconded, took the following actions and adopted the following resolutions:

Chapter 11 Filing

        WHEREAS, on July 21, 2017, the Board adopted a resolution expanding the authority of
        the audit committee of the Board (the “Audit Committee”) to include:

              a. exploring such strategic and/or financial alternatives as the Audit Committee may
                 determine to be advisable for the Company and its stakeholders in light of the
                 Company’s cash flow, liquidity and general financial condition, including
                 refinancing or new capital raising transactions, amendments to or restructuring of
                 the existing indebtedness and other obligations of the Company, or a potential
                 sale of the Company or any of its assets, and the commencement of judicial
                 processes or out-of-court implementation of restructuring and recapitalization
                 transactions for the Company, including the filing of a voluntary petition under
                 chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (each of
                 the foregoing and any combination of the foregoing, a “Restructuring
                 Transaction”);

              b. monitoring and participating in the negotiations for a Restructuring Transaction;

              c. considering and accepting any such Restructuring Transaction that is in the best
                 interests of the Company and its estate on behalf of the Board;

              d. negotiating and approving the filing of (i) any motion, order, and related
                 documentation regarding the use of cash collateral and incurrence of debtor-in-
                 possession financing, (ii) a chapter 11 plan (a “Plan”) for the Company
                 implementing the terms of a Restructuring Transaction, (iii) a disclosure
                 statement to solicit acceptances for such Plan among constituencies permitted to
                 vote for the Plan under the Bankruptcy Code (the “Disclosure Statement”), and
                 (iv) all other papers or documents related thereto or to a chapter 11 case
                 (collectively, the “Chapter 11 Filings”);

              e. approving any and all modifications to any Chapter 11 Filing; and

              f. regularly updating and advising the Board as to any matters considered or
                 undertaken by the Audit Committee or as the Board may otherwise request;

        WHEREAS, each of B. James Ford, Samuel A. Mitchell, Stephen J. Toy, and C. John
        Wilder (collectively, the “Non-Independent Directors”) resigned from the Board on
        September 20, 2017, September 20, 2017, October 6, 2017, and November 9, 2017,
        respectively;



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      WHEREAS, the Board and the Audit Committee are now comprised of the same
      directors;

      WHEREAS, the Board considered presentations by the Company’s management (the
      “Management”) and financial, restructuring, and legal advisors (collectively,
      the “Advisors”) regarding the liabilities and liquidity situation of the Company, the
      strategic alternatives available to it, and the effect of the foregoing on the Company’s
      business;

      WHEREAS, the Board has had the opportunity to consult with the Management and the
      Advisors of the Company and fully consider each of the strategic alternatives available to
      the Company.

      NOW, THEREFORE, BE IT,

      RESOLVED, that, in the judgment of the Board, it is desirable and in the best interests
      of the Company, its creditors, and other parties in interest, that the Company shall be, and
      hereby is, authorized, empowered, and directed to file or cause to be filed voluntary
      petitions for relief (the “Chapter 11 Cases”) under the provisions of chapter 11 of title 11
      of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy
      Court for the Southern District of Texas or another court of proper jurisdiction
      (the “Bankruptcy Court”); and

      RESOLVED, that the Chief Executive Officer, Chief Financial Officer,
      General Counsel. Treasurer, Vice President, Secretary, Chief Operating Officer or any
      other duly appointed officer of the Company (collectively, the “Authorized Officers”),
      acting alone or with one or more other Authorized Officers be, and each of them hereby
      is, authorized, empowered, and directed to execute and file on behalf of the Company all
      petitions, schedules, lists, and other motions, papers, or documents (including the filing
      of financing statements), and to take any and all action that they deem necessary,
      appropriate, or desirable to obtain such relief, including, without limitation, any action
      necessary, appropriate, or desirable to maintain the ordinary course operation of the
      Company’s business.

Cash Collateral & Debtor-in-Possession Financing

      WHEREAS, the Company will obtain benefits from the Company’s use of
      collateral, including cash collateral, as that term is defined in section 363 of the
      Bankruptcy Code (the “Cash Collateral”), which is security for certain prepetition
      secured lenders (collectively, the “Secured Lenders”) party to:

             (a) prior to the approval and consummation of the DIP Facilities, that
             certain Amended and Restated Credit Agreement, dated as of July 31,
             2013, (the “RBL Credit Agreement”), as amended, amended and restated,
             supplemented, or otherwise modified, refinanced, or replaced from time to
             time, among EXCO Resources, Inc. as borrower and JPMorgan Chase
             Bank, N.A., as the administrative agent (the “RBL Agent”), the lenders
             from time to time party thereto (the “RBL Lenders”), and the guarantor


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       parties thereto (the “RBL Guarantors”);

       (b) that certain indenture, dated as of March 15, 2017, (the “1.5 Lien
       Notes Indenture”), as amended, amended and restated, supplemented, or
       otherwise modified, refinanced, or replaced from time to time, among
       EXCO Resources, Inc., as issuer and Wilmington Trust, N.A., as trustee
       and collateral agent (the “1.5 Lien Notes Indenture Trustee”), the lenders
       from time to time party thereto (the “1.5 Lien Noteholders”) and the
       guarantor parties thereto (the “1.5 Lien Notes Guarantors”);

       (c) that certain 1.75 Lien Term Loan Credit Agreement, dated as of
       March 15, 2017, (the “1.75 Lien Credit Agreement”), as amended,
       amended and restated, supplemented, or otherwise modified, refinanced,
       or replaced from time to time, among EXCO Resources, Inc., as borrower
       and Wilmington Trust, N.A., as the collateral trustee (the “1.75 Lien
       Collateral Trustee”), the lenders from time to time party thereto (the “1.75
       Lien Term Loan Lenders”) and the guarantor parties thereto (the “1.75
       Lien Term Loan Guarantors”); and

       (d) that certain Term Loan Credit Agreement, dated as of October 19,
       2015, (the “Second Lien Credit Agreement”), as amended, amended and
       restated, supplemented, or otherwise modified, refinanced, or replaced
       from time to time, among EXCO Resources, Inc., as borrower and
       Wilmington Trust, N.A., as the collateral trustee (the “Second Lien
       Collateral Trustee”), the lenders from time to time party thereto
       (the “Second Lien Term Loan Lenders”) and the guarantor parties thereto
       (the “Second Lien Term Loan Guarantors”).

WHEREAS, reference is made to that certain Debtor-In-Possession Credit
Agreement (together with all exhibits, schedules and annexes thereto, the “DIP
Credit Agreement”) dated as of, or about, the date hereof, by and among EXCO
Resources, Inc., a Texas corporation, as the “Borrower” and a Debtor and debtor-
in-possession under Chapter 11 of the Bankruptcy Code, the other Subsidiaries as
Guarantors and as Debtors and debtors-in-possession under Chapter 11 of the
Bankruptcy Code, the lenders party thereto from time to time (collectively, the
“DIP Lenders”), and Hamblin Watsa Investment Counsel Ltd., as Administrative
Agent (the “DIP Agent”);

WHEREAS, the Borrower has requested that the DIP Lenders provide a debtor-
in-possession term loan facility to the Debtors (the “DIP Term Loan”); and

WHEREAS, the Borrower has requested that the DIP Lenders provide a debtor-
in-possession revolving loan facility to the Debtors (the “DIP Revolving Loan”,
and together with the DIP Term Loan, the “DIP Facilities”);

WHEREAS, the obligation of the DIP Lenders to make the extensions of credit
to the Borrower is subject to, among other things, the Company entering into the



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DIP Credit Agreement and satisfying certain conditions in the DIP Credit
Agreement; and

WHEREAS, the Company will obtain benefits from the DIP Credit Agreement
and it is advisable and in the best interest of the Company to enter into the DIP
Credit Agreement and each other Loan Document and to perform its obligations
thereunder, including granting security interests in all or substantially all of its
assets.

NOW, THEREFORE, BE IT RESOLVED, that the form, terms and provisions
of the DIP Credit Agreement, and the transactions contemplated by the DIP
Credit Agreement (including, without limitation, the borrowings thereunder), the
transactions contemplated therein and the guaranties, liabilities, obligations,
security interest granted and notes issued, if any, in connection therewith, be and
hereby are authorized, adopted and approved; and

RESOLVED, that the Company will obtain benefits from the DIP Credit
Agreement and it is advisable and in the best interest of the Company to enter into
the DIP Credit Agreement and each other Loan Document and to perform its
obligations thereunder, including granting security interests in all or substantially
all of its assets; and

RESOLVED, that the Company’s execution and delivery of, and its performance
of its obligations (including guarantees) in connection with the DIP Credit
Agreement, are hereby, in all respects, authorized and approved; and further
resolved, that each of the Authorized Officers, acting alone or with one or more
Authorized Officers, is hereby authorized, empowered and directed to negotiate
the terms of and to execute, deliver and perform the DIP Credit Agreement and
any and all other documents, certificates, instruments, agreements, intercreditor
agreements, any amendment or any other modification required to consummate
the transactions contemplated by the DIP Credit Agreement in the name and on
behalf of the Company, in the form approved, with such changes therein and
modifications and amendments thereto as any of the Authorized Officers may in
his or her sole discretion approve, which approval shall be conclusively evidenced
by his or her execution thereof. Such execution by any of the Authorized Officers
is hereby authorized to be by facsimile, engraved or printed as deemed necessary
and preferable; and

RESOLVED, that the Authorized Officers, acting alone or with one or more
Authorized Officers, be, and hereby are, authorized, empowered and directed in
the name of, and on behalf of, the Company to seek authorization to enter into the
DIP Credit Agreement and to seek approval of the use of cash collateral pursuant
to a postpetition financing order in interim and final form, and any Authorized
Officer be, and hereby is, authorized, empowered, and directed to negotiate,
execute, and deliver any and all agreements, instruments, or documents, by or on
behalf of the Company, necessary to implement the postpetition financing,
including providing for adequate protection to the Secured Lenders in accordance


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with section 363 of the Bankruptcy Code, as well as any additional or further
agreements for entry into the DIP Credit Agreement and the use of cash collateral
in connection with the Company’s Chapter 11 Cases, which agreements may
require the Company to grant adequate protection and liens to the Company’s
Secured Lenders and each other agreement, instrument, or document to be
executed and delivered in connection therewith, by or on behalf of the Company
pursuant thereto or in connection therewith, all with such changes therein and
additions thereto as any Authorized Officer approves, such approval to be
conclusively evidenced by the taking of such action or by the execution and
delivery thereof.

RESOLVED, that (i) the form, terms, and provisions of the DIP Credit
Agreement and all other Loan Documents (as defined in the DIP Credit
Agreement) to which the Company is a party, including without limitation, the
refinancing of the obligations outstanding pursuant to the RBL Credit Agreement,
(ii) the grant of security interests in, pledges of, and liens on all or substantially all
of the assets now or hereafter owned by the Company as collateral (including
pledges of equity and personal property as collateral) under the Loan Documents
and (iii) the guaranty of obligations by the Company under the Loan Documents,
from which the Company will derive value, be and hereby are, authorized,
adopted, and approved, and (iv) any Authorized Officer or other officer of the
Company is hereby authorized, empowered, and directed, in the name of and on
behalf of the Company, to take such actions and negotiate or cause to be prepared
and negotiated and to execute, deliver, perform, and cause the performance of,
each of the transactions contemplated by the DIP Credit Agreement substantially
in the form provided to the Board, the Loan Documents and such other
agreements, certificates, instruments, receipts, petitions, motions, or other papers
or documents to which the Company is or will be a party or any order entered into
in connection with the Chapter 11 Cases (collectively with the DIP Credit
Agreement, the “Financing Documents”), incur and pay or cause to be paid all
related fees and expenses, with such changes, additions, and modifications thereto
as an Authorized Officer executing the same shall approve;

RESOLVED, that the Company, as debtor and debtor-in-possession under the
Bankruptcy Code be, and hereby is, authorized, empowered, and directed to incur
any and all obligations and to undertake any and all related transactions on
substantially the same terms as contemplated under the Financing Documents
(collectively, the “Financing Transactions”), including granting liens on its assets
to secure such obligations and the refinancing of the obligations outstanding
pursuant to the RBL Credit Agreement; and

RESOLVED, that the Authorized Officers be, and they hereby are, authorized,
empowered, and directed in the name of, and on behalf of, the Company, as
debtor and debtor in possession, to take such actions as in its discretion is
determined to be necessary, desirable, or appropriate to execute, deliver, and file:
(a) the Financing Documents and such agreements, certificates, instruments,
guaranties, notices, and any and all other documents, including, without


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limitation, any amendments, supplements, modifications, renewals, replacements,
consolidations, substitutions, and extensions of any Financing Documents,
necessary, desirable, or appropriate to facilitate the Financing Transactions; (b) all
petitions, schedules, lists, and other motions, papers, or documents, which shall in
its sole judgment be necessary, proper, or advisable, which determination shall be
conclusively evidenced by his/her or their execution thereof; (c) such other
instruments, certificates, notices, assignments, and documents as may be
reasonably requested by the DIP Agent and other parties in interest; and (d) such
forms of deposit account control agreements, officer’s certificates, and
compliance certificates as may be required by the Financing Documents; and

RESOLVED, that the Authorized Officers be, and they hereby are, authorized,
empowered, and directed in the name of, and on behalf of, the Company to file or
to authorize the DIP Agent to file any Uniform Commercial Code (“UCC”)
financing statements, any other equivalent filings, any intellectual property or real
estate filings and recordings, and any necessary assignments for security or other
documents in the name of the Company that either DIP Agent deems necessary or
convenient to perfect any lien or security interest granted under the Financing
Documents, including any such UCC financing statement containing a generic
description of collateral, such as “all assets,” “all property now or hereafter
acquired,” and other similar descriptions of like import, and to execute and
deliver, and to record or authorize the recording of, such mortgages and deeds of
trust in respect of real property of the Company and such other filings in respect
of intellectual and other property of the Company, in each case as the DIP Agent
may reasonably request to perfect the security interests of the DIP Agent under
the Financing Documents; and

RESOLVED, that the Authorized Officers be, and they hereby are, authorized,
empowered and directed in the name of, and on behalf of, the Company to take all
such further actions, including, without limitation, to pay or approve the payment
of all fees and expenses payable in connection with the Financing Transactions
and all fees and expenses incurred by or on behalf of the Company in connection
with the foregoing resolutions, in accordance with the terms of the Financing
Documents, which shall in their reasonable business judgment be necessary,
proper, or advisable to perform the Company’s obligations under or in connection
with the Financing Documents or any of the Financing Transactions and to fully
carry out the intent of the foregoing resolutions; and

RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
empowered and directed in the name of, and on behalf of, the Company, to
execute and deliver any amendments, supplements, modifications, renewals,
replacements, consolidations, substitutions, and extensions of the postpetition
financing or any of the Financing Documents or to do such other things which
shall in their sole judgment be necessary, desirable, proper, or advisable to give
effect to the foregoing resolutions, which determination shall be conclusively
evidenced by his/her or their execution thereof; and



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       RESOLVED, that to the extent the Company serves as the the sole member,
       general partner, managing member, equivalent manager, or other governing body
       (collectively, a “Controlling Company”) of any other company (each a
       “Controlled Company”), each Authorized Officer, as applicable, is authorized,
       empowered and directed to take each of the actions described in these resolutions
       or any of the actions authorized by these resolutions on behalf of the applicable
       Controlling Company.

Retention of Professionals

       RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
       empowered and directed to employ the law firm of Kirkland & Ellis LLP, as the
       Company’s counsel, to represent and assist the Company in carrying out its duties under
       the Bankruptcy Code and to take any and all actions to advance the Company’s rights and
       remedies, including filing any pleadings and conducting any potential restructuring or
       sale process on behalf of the Company; and, in connection therewith, each of the
       Authorized Officers, with power of delegation, is hereby authorized, empowered, and
       directed to execute appropriate retention agreements, pay appropriate retainers, and to
       cause to be filed an appropriate application for authority to retain Kirkland & Ellis LLP
       in accordance with applicable law; and

       RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
       empowered, and directed to employ the firm of PJT Partners LP, as the Company’s
       financial advisor and investment banker; and, in connection therewith, each of the
       Authorized Officers, with power of delegation, is hereby authorized, empowered and
       directed to execute appropriate retention agreements, pay appropriate retainers, and to
       cause to be filed an appropriate application for authority to retain PJT Partners LP in
       accordance with applicable law; and

       RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
       empowered, and directed to employ the firm of Alvarez & Marsal North America, LLC,
       as the Company’s restructuring advisor; and, in connection therewith, each of the
       Authorized Officers, with power of delegation, is hereby authorized, empowered, and
       directed to execute appropriate retention agreements, pay appropriate retainers, and to
       cause to be filed an appropriate application for authority to retain Alvarez & Marsal
       North America, LLC in accordance with applicable law; and

       RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
       empowered, and directed to employ the firm of Epiq Bankruptcy Solutions, LLC, as
       notice, claims, and balloting agent and as administrative advisor to represent and assist
       the Company in carrying out its duties under the Bankruptcy Code, and to take any and
       all actions to advance the Company’s rights and remedies; and, in connection therewith,
       each of the Authorized Officers, with power of delegation, is hereby authorized,
       empowered, and directed to execute appropriate retention agreements, pay appropriate
       retainers, and to cause to be filed an appropriate application for authority to retain Epiq
       Bankruptcy Solutions, LLC in accordance with applicable law; and



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      RESOLVED, that each of the Authorized Officers be, and they hereby are, authorized,
      empowered, and directed to employ any other professionals to assist the Company in
      carrying out its duties under the Bankruptcy Code; and in connection therewith, each of
      the Authorized Officers, with power of delegation, are hereby authorized, empowered,
      and directed to execute appropriate retention agreements, pay appropriate retainers and
      fees, and to cause to be filed an appropriate application for authority to retain the services
      of any other professionals as necessary; and

      RESOLVED, that each of the Authorized Officers be, and they hereby are, with power
      of delegation, authorized, empowered, and directed to execute and file all petitions,
      schedules, motions, lists, applications, pleadings, and other papers and, in connection
      therewith, to employ and retain all assistance by legal counsel, accountants, financial
      advisors, and other professionals and to take and perform any and all further acts and
      deeds that each of the Authorized Officers deem necessary, proper, or desirable in
      connection with the Company’s Chapter 11 Cases, with a view to the successful
      prosecution of such cases.

General

      RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
      Authorized Officers, each of the Authorized Officers (and their designees and delegates)
      be, and they hereby are, authorized, empowered, and directed, in the name of and on
      behalf of the Company, to take or cause to be taken any and all such other and further
      action, and to execute, acknowledge, deliver, and file any and all such agreements,
      certificates, instruments, and other documents and to pay all expenses, including but not
      limited to filing fees, in each case as in such officer’s or officers’ judgment, shall be
      necessary, advisable or desirable in order to fully carry out the intent and accomplish the
      purposes of the resolutions adopted herein; and

      RESOLVED, that the Company and the Board have received sufficient notice of the
      actions and transactions relating to the matters contemplated by the foregoing resolutions,
      as may be required by the organizational documents of the Company, or hereby waive
      any right to have received such notice; and

      RESOLVED, that all acts, actions, and transactions relating to the matters contemplated
      by the foregoing resolutions done in the name of and on behalf of the Company, which
      acts would have been approved by the foregoing resolutions except that such acts were
      taken before the adoption of these resolutions, are hereby in all respects approved and
      ratified as the true acts and deeds of the Company with the same force and effect as if
      each such act, transaction, agreement, or certificate has been specifically authorized in
      advance by resolution of the Board; and

      RESOLVED, that each of the Authorized Officers (and their designees and delegates)
      be, and hereby are, authorized, empowered, and directed to take all actions, or to not take
      any action in the name of the Company, with respect to the transactions contemplated by
      these resolutions hereunder, as such Authorized Officer shall deem necessary or desirable
      in such Authorized Officer’s reasonable business judgment, as may be necessary or


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convenient to effectuate the purposes of the transactions contemplated herein; and

RESOLVED, that this consent may be executed in any number of counterparts, each of
which shall be deemed to be an original, and such counterparts shall constitute but one
and the same consent.

                                       ***




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     Fill in this information to identify the case:
     Debtor name EXCO Resources, Inc., et al.
     United States Bankruptcy Court for the: _Southern_ District of   Texas
                                                                                                                                                                    ¨
     Case number (If known): ______________
                                                                                                                                                                        Check if this is an amended filing


     Official Form 204
     Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 50 Largest Unsecured Claims and
     Are Not Insiders                                 12/15


     A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or
     entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the
     creditor among the holders of the 50 largest unsecured claims.

                                                                                                                                                                  Amount of unsecured claim
                                                                                                                                                                  If the claim is fully unsecured, fill in only unsecured claim
                                                                                                                                                                  amount. If claim is partially secured, fill in total claim
                                                                                                                    Nature of the claim (for
                                                                                                                                             Indicate if claim is amount and deduction for value of collateral or setoff to
                                                                                                                     example, trade debts,
    Name of creditor and complete mailing address,           Name, telephone number, and email address of creditor                              contingent,       calculate unsecured claim.
                                                                                                                    bank loans, professional
                  including zip code                                              contact                                                     unliquidated, or
                                                                                                                   services, and government
                                                                                                                                                  disputed          Total claim, if      Deduction for
                                                                                                                           contracts)
                                                                                                                                                                       partially       value of collateral     Unsecured claim
                                                                                                                                                                       secured              or setoff


  WILMINGTON SAVINGS FUND SOCIETY,
  FSB                                                        ATTN: PATRICK J. HEALY
                                                                                                                        7.5% SENIOR NOTES
1 500 DELAWARE AVENUE                                        PHONE - (302) 888-7420                                                                                                                          $     131,576,000
                                                                                                                             DUE 2018
  WILMINGTON, DE 19801                                       EMAIL - phealy@wsfsbank.com



  WILMINGTON SAVINGS FUND SOCIETY,
  FSB                                                        ATTN: PATRICK J. HEALY
                                                                                                                        8.5% SENIOR NOTES
2 500 DELAWARE AVENUE                                        PHONE - (302) 888-7420                                                                                                                          $       70,169,000
                                                                                                                             DUE 2022
  WILMINGTON, DE 19801                                       EMAIL - phealy@wsfsbank.com



                                                             ATTN: I. J. BERTHELOT, II
                                                             PRESIDENT
  AZURE ETG LLC                                              PHONE - (972) 674-5200
  12377 MERIT DRIVE
3 SUITE 300                                                                                                                  Trade Debt                                                                      $       28,698,314
  DALLAS, TX 75251                                           ATTN: CHIP BERTHELOT
                                                             PRESIDENT
                                                             PHONE - (972) 674-5200
                                                             EMAIL - chipb@azuremidstream.com

                                       ATTN: ANDREW MACKENZIE
                                       CHIEF EXECUTIVE OFFICER
  BHP BILLITON PETROLEUM PROPERTIES LP PHONE - (832) 204-2700
  1100 LOUISIANA                       FAX - (613) 9609-3015
4 SUITE 400                                                                                                                  Trade Debt                                                                      $       10,001,897
  HOUSTON, TX 77002
                                       ATTN: RYAN LINTON
                                       PHONE - (713) 499-5526
                                       EMAIL - ryan.linton@bhpbilliton.com

                                                             ATTN: MICHAEL J. DOSS
                                                             CHIEF EXECUTIVE OFFICER
                                                             PHONE - (817) 862-2000
     FTS INTERNATIONAL SERVICES LLC                          FAX - (713) 428-4099
     777 MAIN STREET, STE 3000
5                                                                                                                            Trade Debt                                                                      $        7,631,198
     FORT WORTH, TX 76102
                                                             ATTN: CODY DUBOIS
                                                             ACCT MANAGER
                                                             PHONE - (972) 385-2671
                                                             EMAIL - Cody.DuBois@ftsi.com




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                                                                                                                                                          Amount of unsecured claim
                                                                                                                                                          If the claim is fully unsecured, fill in only unsecured claim
                                                                                                                                                          amount. If claim is partially secured, fill in total claim
                                                                                                            Nature of the claim (for
                                                                                                                                     Indicate if claim is amount and deduction for value of collateral or setoff to
                                                                                                             example, trade debts,
    Name of creditor and complete mailing address,   Name, telephone number, and email address of creditor                              contingent,       calculate unsecured claim.
                                                                                                            bank loans, professional
                  including zip code                                      contact                                                     unliquidated, or
                                                                                                           services, and government
                                                                                                                                          disputed          Total claim, if      Deduction for
                                                                                                                   contracts)
                                                                                                                                                               partially       value of collateral     Unsecured claim
                                                                                                                                                               secured              or setoff

                                                     ATTN: ROBERT C. TURNHAM, JR.
                                                     PRESIDENT & CHIEF EXECUTIVE OFFICER
                                                     PHONE - (713) 780-9494
                                                     FAX - (713) 780-9254
  GOODRICH PETROLEUM CO LLC
  801 LOUISIANA, STE 700
6                                                                                                                    Trade Debt                                                                     $         4,586,270
  HOUSTON, TX 77002
                                                     ATTN: MARK LEISEROWITZ
                                                     CPA
                                                     PHONE - (832) 399-3147
                                                     FAX - (382) 389-5347
                                                     EMAIL - markl@goodrichpetroleum.com

                                                     ATTN: J. MICHAEL STICE
                                                     CHIEF EXECUTIVE OFFICER
  LOUISIANA MIDSTREAM GAS SERVICES
                                                     PHONE - (405) 848-8000
  LLC
  6100 NORTH WESTERN AVE
7                                                                                                                    Trade Debt                                                                     $         4,035,577
  PO BOX 18496
                                                     ATTN: SETH DANIEL
  OKLAHOMA CITY, OK 73154-0496
                                                     COMMERCIAL DEVELOPMENT REP
                                                     PHONE - (918) 572-6180
                                                     EMAIL - seth.daniel@williams.com

                                                     ATTN: JOHN MINGE
                                                     PRESIDENT
                                                     PHONE - (281) 366-2000
     BP AMERICA PRODUCTION CO                        FAX - (281) 366-7584
     501 WESTLAKE PARK BLVD
8                                                                                                                    Trade Debt                                                                     $         2,555,702
     HOUSTON, TX 77079
                                                     ATTN: LUCIA SPORLEDER, JV
                                                     ACCTS RECEIVABLE ANALSYT
                                                     PHONE - +54 11 5432 3837
                                                     EMAIL - sporleder.lucia@bp.com

                                                     ATTN: ROBERT D. LAWLER
                                                     PRESIDENT & CHIEF EXECUTIVE OFFICER
                                                     PHONE - (405) 848-8000
     CHESAPEAKE ENERGY MARKETING LLC                 FAX - (405) 879-9575
     6100 NORTH WESTERN AVE
9                                                                                                                    Trade Debt                                                                     $         2,455,392
     OKLAHOMA CITY, OK 73118
                                                     ATTN: MATT BELLER
                                                     SR. CRUDE OIL MARKETING REP
                                                     PHONE - (405) 935-7144
                                                     EMAIL - matt.beller@chk.com

                                                     ATTN: FRANK D. TSURU
                                                     PRESIDENT & CHIEF EXECUTIVE OFFICER
                                                     PHONE - (713) 237-5000
     INDIGO MINERALS LLC                             FAX - (713) 237-5040
     600 TRAVIS, STE 5500                                                                                       Natural Gas Purchasers
10                                                                                                                                                                                                  $         2,204,413
     HOUSTON, TX 77002                                                                                           and OBO JIB Trade
                                                     ATTN: SUE ANNE SMITH
                                                     ACCOUNTING SUPERVISOR
                                                     PHONE - (713) 237-5014
                                                     EMAIL - s.smith@indigominerals.com

                                                     ATTN: ANTHONY G. PETRELLO
                                                     PRESIDENT & CHIEF EXECUTIVE OFFICER
   NABORS DRILLING TECHNOLOGIES USA                  PHONE - (281) 874-0035
   INC                                               FAX - (281) 872-5205
   515 WEST GREENS RD
11                                                                                                                   Trade Debt                                                                     $         1,770,820
   STE 1200
   HOUSTON, TX 77067                                 ATTN: TREVOR BRINKLEY
                                                     MANAGER - CONTRACTS
                                                     PHONE - (903) 747-5545
                                                     EMAIL - trevor.brinkley@nabors.com




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                                                                                                                                                       Amount of unsecured claim
                                                                                                                                                       If the claim is fully unsecured, fill in only unsecured claim
                                                                                                                                                       amount. If claim is partially secured, fill in total claim
                                                                                                         Nature of the claim (for
                                                                                                                                  Indicate if claim is amount and deduction for value of collateral or setoff to
                                                                                                          example, trade debts,
 Name of creditor and complete mailing address,   Name, telephone number, and email address of creditor                              contingent,       calculate unsecured claim.
                                                                                                         bank loans, professional
               including zip code                                      contact                                                     unliquidated, or
                                                                                                        services, and government
                                                                                                                                       disputed          Total claim, if      Deduction for
                                                                                                                contracts)
                                                                                                                                                            partially       value of collateral     Unsecured claim
                                                                                                                                                            secured              or setoff

                                                  ATTN: HOLLI LADHANI
                                                  PRESIDENT & CHIEF EXECUTIVE OFFICER
                                                  PHONE - (713) 235-9500
   SELECT ENERGY SERVICES LLC
   515 POST OAK BLVD, STE 200
12                                                                                                                Trade Debt                                                                     $         1,480,775
   HOUSTON, TX 77027
                                                  ATTN: ERIC MATTSON
                                                  CHIEF FINANCIAL OFFICER
                                                  PHONE - (713) 235-9500
                                                  EMAIL - EMattson@selectenergyservices.com

                                                  ATTN: CINDY B. TAYLOR
                                                  PRESIDENT AND CHIEF EXECUTIVE OFFICER
                                                  PHONE - (713) 652-0582
   OIL STATES ENERGY SERVICES LLC
                                                  FAX - (713) 652-0499
   THREE ALLEN CENTER
13 333 CLAY ST, STE 4620                                                                                          Trade Debt                                                                     $         1,309,391
   HOUSTON, TX 77002
                                                  ATTN: JUSTIN SPATARO
                                                  REGIONAL SALES
                                                  PHONE - (903) 812-3142
                                                  EMAIL - Justin.Spataro@oilstates.com

                                                  ATTN: DANNY CHILDERS
                                                  PRESIDENT
                                                  PHONE - (800) 426-5349
   LEAM DRILLING SYSTEMS, LLC
   3114 WEST OLD SPANISH TRAIL
14                                                                                                                Trade Debt                                                                     $         1,062,974
   NEW IBERIA, LA 70560
                                                  ATTN: NOELLE HOENING
                                                  SALES
                                                  PHONE - (214) 505-6135
                                                  EMAIL - noelle.hoening@leam.net

                                      ATTN: JOHN STEEN
                                      CHIEF EXECUTIVE OFFICER
   PARADIGM MIDSTREAM SERVICES-ST LLC PHONE - (214) 373-4300
   545 E. JOHN CARPENTER FREEWAY
15 SUITE 800                                                                                                      Trade Debt                                                                     $           990,821
   IRVING, TX 75062                   ATTN: JENNY WAGGONER
                                      VICE PRESIDENT - BUSINESS DEVELOPMENT
                                      PHONE - (214) 389-8166
                                      EMAIL - jwaggoner@paradigmmidstream.com

                                                  ATTN: KATHY LEHNE
                                                  CHIEF EXECUTIVE OFFICER
                                                  PHONE - (800) 677-3835
     SUN COAST RESOURCES INC
     6405 CAVALCADE ST., BLDG 1
16                                                                                                                Trade Debt                                                                     $           930,395
     HOUSTON, TX 77026
                                                  ATTN: TERAH PARKS
                                                  SALES
                                                  PHONE - (713) 429-8868
                                                  EMAIL - tparkins@suncoastresources.com

                                                  ATTN: LORENZO SIMONELLI
                                                  CHAIRMAN, PRESIDENT & CHIEF EXECUTIVE
                                                  OFFICER
                                                  PHONE - (330) 915-2500
     GE OIL & GAS PRESSURE CONTROL LP
                                                  FAX - (832) 325-4350
     3960 COMMERCE ST SW
17                                                                                                                Trade Debt                                                                     $           869,610
     CANTON, OH 44706
                                                  ATTN: RUSTY SPINKS
                                                  REGIONAL SALES
                                                  PHONE - (972) 447-2614
                                                  EMAIL - rusty.spinks@ge.com




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                                                                                                                                                       Amount of unsecured claim
                                                                                                                                                       If the claim is fully unsecured, fill in only unsecured claim
                                                                                                                                                       amount. If claim is partially secured, fill in total claim
                                                                                                         Nature of the claim (for
                                                                                                                                  Indicate if claim is amount and deduction for value of collateral or setoff to
                                                                                                          example, trade debts,
 Name of creditor and complete mailing address,   Name, telephone number, and email address of creditor                              contingent,       calculate unsecured claim.
                                                                                                         bank loans, professional
               including zip code                                      contact                                                     unliquidated, or
                                                                                                        services, and government
                                                                                                                                       disputed          Total claim, if      Deduction for
                                                                                                                contracts)
                                                                                                                                                            partially       value of collateral     Unsecured claim
                                                                                                                                                            secured              or setoff

                                      ATTN: WILLIAM A. (ANDY) HENDRICKS
                                      PRESIDENT AND CHIEF EXECUTIVE OFFICER
   PATTERSON UTI DRILLING COMPANY LLC PHONE - (281) 765-7100
   10713 WEST SAM HOUSTON PARKWAY     FAX - (281) 765-7175
   NORTH
18                                                                                                                Trade Debt                                                                     $           764,541
   SUITE 800
   HOUSTON, TX 77064                  ATTN: DANNY BRUMLEY
                                      VP OF MKT
                                      PHONE - (817) 523-5267
                                      EMAIL - danny.brumley@patenergy.com

                                                  ATTN: ALLEN R. NEEL
                                                  PRESIDENT AND CHIEF EXECUTIVE OFFICER
                                                  PHONE - (936) 442-2500
     MS DIRECTIONAL LLC                           FAX - (936) 442-2599
     3335 POLLOCK DRIVE
19                                                                                                                Trade Debt                                                                     $           743,966
     CONROE, TX 77303
                                                  ATTN: JEFF R. JONES
                                                  SW SALES MANAGER
                                                  PHONE - (469) 540-5514
                                                  EMAIL - jjones@msenergyservices.com

                                                  ATTN: LINDA WILLIAMS
                                                  MANAGING MEMBER
                                                  PHONE - (318) 925-5249
     SKY-LIN                                      FAX - (318) 925-5248
     6911 VARDAMAN RD
20                                                                                                                Trade Debt                                                                     $           606,720
     KEITHVILLE, LA 71047
                                                  ATTN: TYLER WILLIAMS
                                                  PHONE - (318) 925-5249
                                                  FAX - (318) 925-5248
                                                  EMAIL - tyler@skylin.net
                                                  ATTN: DAVID C. MANNON
                                                  PRESIDENT AND CHIEF EXECUTIVE OFFICER
                                                  PHONE - (713) 528-5544
     STALLION OILFIELD SERVICES                   FAX - (713) 528-1276
     950 CORBINDALE, STE 400
21                                                                                                                Trade Debt                                                                     $           571,996
     HOUSTON, TX 77024
                                                  ATTN: STEVE THOMPSON
                                                  BD
                                                  PHONE - (817) 229-7128
                                                  EMAIL - sthompson@sofs.cc

                                                  ATTN: MARTIN S. CRAIGHEAD
                                                  CHAIRMAN AND CHIEF EXECUTIVE OFFICER
                                                  PHONE - (713) 439-8600
     BAKER HUGHES BUSINESS SUPPORT SVS
     17021 ALDINE WESTFIELD
22                                                                                                                Trade Debt                                                                     $           564,919
     HOUSTON, TX 77073
                                                  ATTN: JASON M. PRICE
                                                  ACCT MANAGER
                                                  PHONE - (972) 465-1034
                                                  EMAIL - jason.price@bakerhughes.com

                                                  ATTN: CHARLES E. WEAVER III
                                                  MEMBER
                                                  PHONE - (225) 683-6636
     GULF COAST TMC LLC
                                                  FAX - (225) 683-6652
     7670 HWY 10
23                                                                                                                Trade Debt                                                                     $           532,919
     ETHEL, LA 70730
                                                  ATTN: TRAE WEAVER
                                                  SALES
                                                  EMAIL - tw@gulfcoasttmc.com




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                                                                                                                                                       Amount of unsecured claim
                                                                                                                                                       If the claim is fully unsecured, fill in only unsecured claim
                                                                                                                                                       amount. If claim is partially secured, fill in total claim
                                                                                                         Nature of the claim (for
                                                                                                                                  Indicate if claim is amount and deduction for value of collateral or setoff to
                                                                                                          example, trade debts,
 Name of creditor and complete mailing address,   Name, telephone number, and email address of creditor                              contingent,       calculate unsecured claim.
                                                                                                         bank loans, professional
               including zip code                                      contact                                                     unliquidated, or
                                                                                                        services, and government
                                                                                                                                       disputed          Total claim, if      Deduction for
                                                                                                                contracts)
                                                                                                                                                            partially       value of collateral     Unsecured claim
                                                                                                                                                            secured              or setoff

                                                  ATTN: MALCOLM H. SNEED III
                                                  PRESIDENT
                                                  PHONE - (318) 996-7030
     S3 PUMP SERVICE                              FAX - (318) 221-7096
     1918 BARTON DR
24                                                                                                                Trade Debt                                                                     $           504,964
     SHREVEPORT, LA 71107
                                                  ATTN: JEFF SILVA
                                                  PRESIDENT
                                                  PHONE - (318) 423-0414
                                                  EMAIL - rsilva@s3pumpservice.com

                                                  ATTN: CHET ERWIN
                                                  PRESIDENT AND CHIEF EXECUTIVE OFFICER
     COGENT ENERGY SERVICES LLC                   PHONE - (713) 554-1200
     919 MILAM ST, STE 2480
25                                                                                                                Trade Debt                                                                     $           489,062
     HOUSTON, TX 77002
                                                  ATTN: BRAD SLATON
                                                  PHONE - (318) 548-9245
                                                  EMAIL - bslaton@cogentenergyservices.com

                                                  ATTN: MIKE HAYS
                                                  PRESIDENT
                                                  PHONE - (318) 927-6178
     FLUID DISPOSAL SPECIALTIES INC
                                                  FAX - (318) 927-6965
     209 SAM BAIRD ROAD
26                                                                                                                Trade Debt                                                                     $           415,013
     HOMER, LA 71040-2019
                                                  ATTN: TIMOTHY G. BROWN
                                                  CHIEF FINANCIAL OFFICER
                                                  EMAIL - timbrown@hayscompanies.biz

                                                  ATTN: GREG PEELER
                                                  PRESIDENT
                                                  PHONE - (855) 778-5940
     THOMAS OILFIELD SERVICES LLC
                                                  FAX - (855) 778-5940
     4250 SE LOOP 281
27                                                                                                                Trade Debt                                                                     $           355,556
     LONGVIEW, TX 75602
                                                  ATTN: CHRISTOPHER STEELE, SR.
                                                  EXECUTIVE SALES
                                                  EMAIL - CSteele2@slb.com


     CNC OILFIELD SERVICES LLC                    ATTN: COLTON SANDERS
     2000 CEDAR ST                                MANAGING OPERATOR
28                                                                                                                Trade Debt                                                                     $           325,412
     SHREVEPORT, LA 71103                         PHONE - (318) 584-7099
                                                  EMAIL - colton.s@cncoilfield.com


                                                  ATTN: ROBERT D. LAWLER, PRESIDENT
                                                  PRESIDENT AND CHIEF EXECUTIVE OFFICER
                                                  PHONE - (405) 848-8000
     CHESAPEAKE OPERATING INC                     FAX - (405) 879-9575
     6100 NORTH WESTERN AVE
29                                                                                                                Trade Debt                                                                     $           307,565
     OKLAHOMA CITY, OK 73118
                                                  ATTN: MICHELLE SURRATT
                                                  ACCOUNTING ASSISTANT II
                                                  PHONE - (405) 935-4123
                                                  EMAIL - michelle.surratt@chk.com



                                                  ATTN: MATTHEW CARROLL
                                                  PRESIDENT
   WEST LOUISIANA AGGREGATES LLC
                                                  PHONE - (936) 639-2215
   10305 JOHN W HOLT JR BLVD
30                                                PHONE - (318) 317-5971                                          Trade Debt                                                                     $           301,439
   SHREVEPORT, LA 71115
                                                  EMAIL - mcarroll@westlaagg.com




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                                                                                                                                                       Amount of unsecured claim
                                                                                                                                                       If the claim is fully unsecured, fill in only unsecured claim
                                                                                                                                                       amount. If claim is partially secured, fill in total claim
                                                                                                         Nature of the claim (for
                                                                                                                                  Indicate if claim is amount and deduction for value of collateral or setoff to
                                                                                                          example, trade debts,
 Name of creditor and complete mailing address,   Name, telephone number, and email address of creditor                              contingent,       calculate unsecured claim.
                                                                                                         bank loans, professional
               including zip code                                      contact                                                     unliquidated, or
                                                                                                        services, and government
                                                                                                                                       disputed          Total claim, if      Deduction for
                                                                                                                contracts)
                                                                                                                                                            partially       value of collateral     Unsecured claim
                                                                                                                                                            secured              or setoff


                                                  ATTN: KARL BLANCHARD
                                                  EXECUTIVE VICE PRESIDENT AND CHIEF
                                                  OPERATING OFICER
                                                  PHONE - (713) 836-4000
     WEATHERFORD U.S., L.P.
                                                  FAX - (713) 693-4300
     2000 SAINT JAMES PLACE
31                                                                                                                Trade Debt                                                                     $           296,725
     HOUSTON, TX 77056
                                                  ATTN: ANGELA MARTIN
                                                  CORPORATE SALES
                                                  PHONE - (972) 661-6724
                                                  EMAIL - angela.martin@weatherford.com



                                                  ATTN: BUFORD E. CURTIS
   CURTIS OILFIELD SERVICES LLC
                                                  MANAGER
   P.O. BOX 1236
32                                                PHONE - (409) 385-2937                                          Trade Debt                                                                     $           270,374
   SILSBEE, TX 77656
                                                  FAX - (409) 385-4202




                                                  ATTN: THOMAS STEVEN MOORE
                                                  CONSULTANT/MANAGER
                                                  PHONE - (318) 949-9279
                                                  FAX - (318) 949-4639
     TDJ OILFIELD SERVICES, LLC
                                                  EMAIL - tdjoil@yahoo.com
     5857 HIGHWAY 80
33                                                                                                                Trade Debt                                                                     $           263,843
     EAST PRINCETON, LA 71067
                                                  ATTN: RANDY WARD
                                                  PHONE - (318) 949-9279
                                                  FAX - (318) 949-4639
                                                  EMAIL - randy@tdjoilfieldservicesllc.com




     CURTIS AND SON VACUUM SERVICE INC            ATTN: CURTIS HUDNALL
     HWY 146                                      PRESIDENT
34                                                                                                                Trade Debt                                                                     $           261,500
     LIBERTY, TX 77575                            PHONE - (936) 334-1188
                                                  EMAIL - csvs@curtisandsonco.com




                                                  ATTN: RICHARD LEE JR
                                                  MANAGING MEMBER
                                                  PHONE - (903) 218-0423
     M6 ENERGY SERVICES LLC
     3304 E GOFORTH RD
35                                                                                                                Trade Debt                                                                     $           251,039
     KILGORE, TX 75662
                                                  ATTN: STEVE MOSES
                                                  PHONE - (903) 808-2191
                                                  FAX - (903) 218-0423
                                                  EMAIL - tbone@m6energy.com

                                                  ATTN: KENNETH R. JENKINS
   SOUTHERN SOIL ENVIRONMENTAL INC
                                                  PRESIDENT AND CHIEF EXECUTIVE OFFICER
   430 TIMBERS EAST DR
36                                                PHONE - (318) 949-1501                                          Trade Debt                                                                     $           233,633
   HAUGHTON, LA 71037-9797
                                                  FAX - (318) 949-1533
                                                  EMAIL - amymize@southernsoilenv.com


                                                  ATTN: STEVEN J. KEAN
                                                  PRESIDENT AND CHIEF EXECUTIVE OFFICER
                                                  PHONE - (713) 369-9000
     KINDERHAWK FIELD SERVICES LLC
     1001 LOUISIANA, STE 1000
37                                                                                                                Trade Debt                                                                     $           212,435
     HOUSTON, TX 77002
                                                  ATTN: NICK CHERRY
                                                  MANAGER - ASSET MANAGEMENT
                                                  PHONE - (713) 369-9841
                                                  EMAIL - Nicholas_Cherry@kindermorgan.com




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                                                                                                                                                       Amount of unsecured claim
                                                                                                                                                       If the claim is fully unsecured, fill in only unsecured claim
                                                                                                                                                       amount. If claim is partially secured, fill in total claim
                                                                                                         Nature of the claim (for
                                                                                                                                  Indicate if claim is amount and deduction for value of collateral or setoff to
                                                                                                          example, trade debts,
 Name of creditor and complete mailing address,   Name, telephone number, and email address of creditor                              contingent,       calculate unsecured claim.
                                                                                                         bank loans, professional
               including zip code                                      contact                                                     unliquidated, or
                                                                                                        services, and government
                                                                                                                                       disputed          Total claim, if      Deduction for
                                                                                                                contracts)
                                                                                                                                                            partially       value of collateral     Unsecured claim
                                                                                                                                                            secured              or setoff

                                                  ATTN: J. MICHAEL STICE
                                                  CHIEF EXECUTIVE OFFICER
   MAGNOLIA MIDSTREAM GAS SERVICES                PHONE - (405) 935-1500
   LLC
38 900 NORTH WEST 63RD ST                                                                                         Trade Debt                                                                     $           209,294
   OKLAHOMA CITY, OK 73154-0355                   ATTN: SETH DANIEL
                                                  COMMERCIAL DEVELOPMENT REP
                                                  PHONE - (918) 572-6180
                                                  EMAIL - seth.daniel@williams.com

                                                  ATTN: JIM COLLINS
                                                  VICE PRESIDENT
                                                  PHONE - (281) 408-2361
     BJ SERVICES COMPANY USA
     11211 FM 2920 RD
39                                                                                                                Trade Debt                                                                     $           191,343
     TOMBALL, TX 77375
                                                  ATTN: JASON M. PRICE
                                                  ACCOUNT MANAGER
                                                  PHONE - (972) 465-1034
                                                  EMAIL - jason.price@bakerhughes.com

                                                  ATTN: DUKE VANLUE
                                                  CHIEF EXECUTIVE OFFICER
                                                  PHONE - (281) 820-2545
     DOWNHOLE TECHNOLOGY LLC
                                                  FAX - (281) 809-7123
     7123 BREEN DRIVE
40                                                                                                                Trade Debt                                                                     $           190,465
     HOUSTON, TX 77086
                                                  ATTN: THOMAS BARTON
                                                  PHONE - (281) 820-2545
                                                  EMAIL - thomas.barton@downholetechnology.com

                                                  ATTN: MARK D. JOHNSRUD
                                                  CHIEF EXECUTIVE OFFICER
   HECKMANN WATER RESOURCES CVR INC
                                                  PHONE - (602) 903-7802
   C/O NUVERRA ENVIRONMENTAL
                                                  FAX - (602) 903-7806
   SOLUTIONS
41 14624 N. SCOTTSDALE ROAD                                                                                       Trade Debt                                                                     $           184,391
   SUITE 300
                                                  ATTN: STEVE LONDON
   SCOTTSDALE, AZ 85254
                                                  PHONE - (832) 539-3232
                                                  FAX - (281) 298-7431
                                                  EMAIL - steve.london@nuverra.com

                                                  ATTN: STEPHEN SHORE
                                                  PRESIDENT AND CHIEF EXECUTIVE OFFICER
                                                  PHONE - (903) 759-0082
                                                  FAX - (903) 759-7722
     TEC WELL SERVICE LLC
                                                  EMAIL - SSHORE@TECWELL.COM
     851 W. HARRISON RD
42                                                                                                                Trade Debt                                                                     $           180,875
     LONGVIEW, TX 75604
                                                  ATTN: KENNETH SHORE
                                                  VP & CHIEF FINANCIAL OFFICER
                                                  PHONE - (903) 738-7554
                                                  EMAIL - KShore@tecwell.com

                                                  ATTN: PRESIDENT OR GENERAL COUNSEL
                                                  PHONE - (432) 530-3330
   LIGHT TOWER RENTALS                            FAX - (432) 530-3339
   2330 EAST INTERSTATE 20
43 SOUTH SERVICE ROAD                                                                                             Trade Debt                                                                     $           178,083
   ODESSA , TX 79766                              ATTN: CODY AVARY
                                                  PHONE - (940) 210-8974
                                                  FAX - (432) 218-7889
                                                  EMAIL - coavary@ltr.com

                                                  ATTN: JEREMY GRACE
   PEAK FISHING SERVICES LLC                      VICE PRESIDENT OF OPERATIONS
   7710 WEST HWY 80                               PHONE - (432) 684-4155
44                                                                                                                Trade Debt                                                                     $           173,380
   MIDLAND, TX 79706                              FAX - (432) 684-4161
                                                  EMAIL -
                                                  JEREMY.GRACE@PEAKFISHINGSERVICES.COM




                                                                                                   Page 7 of 8
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                                                                                                                                                              Amount of unsecured claim
                                                                                                                                                              If the claim is fully unsecured, fill in only unsecured claim
                                                                                                                                                              amount. If claim is partially secured, fill in total claim
                                                                                                                Nature of the claim (for
                                                                                                                                         Indicate if claim is amount and deduction for value of collateral or setoff to
                                                                                                                 example, trade debts,
  Name of creditor and complete mailing address,         Name, telephone number, and email address of creditor                              contingent,       calculate unsecured claim.
                                                                                                                bank loans, professional
                including zip code                                            contact                                                     unliquidated, or
                                                                                                               services, and government
                                                                                                                                              disputed          Total claim, if      Deduction for
                                                                                                                       contracts)
                                                                                                                                                                   partially       value of collateral     Unsecured claim
                                                                                                                                                                   secured              or setoff

                                                         ATTN: BRUCE LERNER
                                                         PRESIDENT AND CHIEF EXECUTIVE OFFICER
   PEROXYCHEM LLC
                                                         PHONE - (267) 422-2400
   ONE COMMERCE SQUARE
                                                         FAX - (215) 299-5998
   2005 MARKET STREET
45                                                                                                                            Trade Debt                                                                $           160,321
   SUITE 3200
   PHILADELPHIA, PA 19103
                                                         ATTN: CARLETON PARKER
                                                         PHONE - (817) 896-8059
                                                         EMAIL - carleton.parker@peroxychem.com

                                                         ATTN: MATTEW EVANS
   FREEDOM OILFIELD SERVICE LLC
                                                         PARTNER
   2948 HIGHWAY 80
46                                                       PHONE - (318) 949-0330                                               Trade Debt                                                                $           159,728
   HAUGHTON, LA 71037
                                                         FAX - (307) 382-5900
                                                         EMAIL - matt@freedomoilfield.net

                                                         ATTN: O.S. ANDRAS
                                                         CHIEF EXECUTIVE OFFICER
                                                         PHONE - (713) 381-6500
   ENTERPRISE PRODUCTS OPERATING LLC
                                                         FAX - (405) 606-4534
   1100 LOUISIANA ST                                                                                                                                   Contingent,
47 10TH FLOOR                                                                                                               Contract Dispute          Unliquidated,                                         Undetermined
   HOUSTON, TX 77002                                                                                                                                    Disputed
                                                         ATTN: PAULA IKNER
                                                         SR COMMERCIAL REP
                                                         PHONE - (713) 381-7910
                                                         EMAIL - pikner@eprod.com

                                                         ATTN: DENMAN M. LONG
                                                         CHAIRMAN
                                                         PHONE - (318) 221-3516
     LONG PETROLEUM LLC                                  FAX - (318) 221-6304
                                                                                                                                                       Contingent,
     400 TEXAS ST. #800
48                                                                                                                             Litigation             Unliquidated,                                         Undetermined
     SHREVEPORT, LA 71101
                                                                                                                                                        Disputed
                                                         ATTN: KEVIN LONG
                                                         PRESIDENT
                                                         PHONE - (318) 221-3516
                                                         EMAIL - kevin@longpetro.com

                                                         ATTN: QING JIANG
                                                         PRESIDENT
                                                         PHONE - (713) 380-4800
     OOGC AMERICA LLC (EAGLE FORD)
                                                                                                                                                       Contingent,
     945 BUNKER HILL RD #1000
49                                                                                                                          Contract Dispute          Unliquidated,                                         Undetermined
     HOUSTON, TX 77024
                                                         ATTN: KIM WOIMA                                                                                Disputed
                                                         SR. MANAGER - FINANCE
                                                         PHONE - (713) 380-4881
                                                         EMAIL - Kim.Woima@nexencnoocltd.com

                                                         ATTN: KELCY L. WARREN
                                                         CHIEF EXECUTIVE OFFICER
                                                         PHONE - (214) 981-0700
     REGENCY GAS SERVICES LP                             FAX - (214) 981-0703
     8111 WESTCHESTER DRIVE                                                                                                                            Contingent,
50                                                                                                                          Contract Dispute                                                                Undetermined
     DALLAS, TX 75225                                                                                                                                 Unliquidated
                                                         ATTN: MARTIN ANTHONY
                                                         VP - GAS SUPPLY & BUSINESS
                                                         PHONE - (318) 677-5551
                                                         EMAIL - martin.anthony@regencygas.com


Note: Unsecured amounts contain projected estimates of pre-petition liability as of the Petition Date and are subject to change as accrued liabilities become invoiced.




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                               IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE SOUTHERN DISTRICT OF TEXAS
                                           HOUSTON DIVISION

                                                         )
    In re:                                               )     Chapter 11
                                                         )
    EXCO RESOURCES, INC.,                                )     Case No. 18-___________(___)
                                                         )
                             Debtor.                     )
                                                         )

                                   LIST OF EQUITY SECURITY HOLDERS1

                                                                                       TYPE OF
                                                        ADDRESS OF EQUITY                            PERCENTAGE
       DEBTOR            EQUITY HOLDERS                                                EQUITY
                                                            HOLDER                                      HELD
                                                                                      SECURITY2
                                                   200 CRESCENT CT.
    EXCO
                    ENERGY STRATEGIC               SUITE 1900                          COMMON
    RESOURCES,                                                                                          29.56%
                    ADVISORY SERVICES LLC3         DALLAS, TEXAS 75201                  STOCK
    INC.
                                                   ATTN: JONATHAN A. SIEGLER
                                                   95 WELLINGTON STREET
    EXCO                                           WEST, SUITE 800
                    FAIRFAX FINANCIAL                                                  COMMON
    RESOURCES,                                     TORONTO, ONTARIO                                      16.1%
                    HOLDINGS LIMITED4                                                   STOCK
    INC.                                           CANADA, M5J 2N7
                                                   ATTN: PAUL RIVETT
                                                   1166 AVENUE OF THE
    EXCO
                                                   AMERICAS                            COMMON
    RESOURCES,      WL ROSS & CO. LLC5                                                                   12.5%
                                                   NEW YORK, NEW YORK 10036             STOCK
    INC.
                                                   ATTN: STEPHEN J. TOY
                    OCM EXCO HOLDINGS LLC          C/O OAKTREE CAPITAL
    EXCO
                    OCM PRINCIPAL                  MANAGEMENT                          COMMON
    RESOURCES,                                                                                           8.29%6
                    OPPORTUNITIES FUND IV          333 S GRAND AVE FL 28                STOCK
    INC.
                    DELAWARE LP                    LOS ANGELES CA 90071-1504

1
       This list reflects holders of five percent or more of EXCO Resources, Inc.’s common stock. This list
       serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal Rules
       of Bankruptcy Procedure. By the Debtors’ Emergency Motion for Entry of an Order (I) Authorizing
       Consolidated Creditors Lists, (II) Authorizing Redaction of Certain Personal Identification Information,
       (III) Waiving the Requirement to File Equity Lists and Modifying Equity Holder Notice Requirements,
       and (IV) Approving the Form and Manner of Notifying Creditors of the Commencement of the Chapter
       11 Cases and Other Information filed contemporaneously herewith, the debtor is requesting a waiver
       of the requirement under rule 1007 to file a list of all of its equity security holders.

2
       Outstanding warrants are not reflected in ownership.
3
       Includes Energy Strategic Advisory Services LLC and affiliated funds as disclosed in Schedule 13D
       filed on November 9, 2017 with the Securities and Exchange Commission.
4
       Includes Fairfax Financial Holdings Limited and affiliated funds as disclosed in Form 4 filed on August 9,
       2017 with the Securities and Exchange Commission.

5
       Includes WL Ross & Co. LLC and affiliated funds as disclosed in Schedule 13D filed on January 4,
       2018 with the Securities and Exchange Commission.
6
       Percentages do not include shares held under street name of Cede & Co.
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                               IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE SOUTHERN DISTRICT OF TEXAS
                                           HOUSTON DIVISION

                                                         )
    In re:                                               )     Chapter 11
                                                         )
    EXCO RESOURCES, INC.                                 )     Case No. 18-___________(___)
                                                         )
                             Debtor.                     )
                                                         )

                                       CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                        Shareholder                             Approximate Percentage of Shares Held

    ENERGY STRATEGIC ADVISORY SERVICES
                                                                                  29.56%
    LLC1
    FAIRFAX FINANCIAL HOLDINGS LIMITED2                                            16.1%
    WL ROSS & CO. LLC3                                                             12.5%




1
       Includes Energy Strategic Advisory Services LLC and affiliated funds as disclosed in Schedule 13D
       filed on November 9, 2017 with the Securities and Exchange Commission.
2
       Includes Fairfax Financial Holdings Limited and affiliated funds as disclosed in Form 4 filed on August 9,
       2017 with the Securities and Exchange Commission.
3
       Includes WL Ross & Co. LLC and affiliated funds as disclosed in Schedule 13D filed on January 4,
       2018 with the Securities and Exchange Commission.
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    Fill in this information to identify the case and this filing:

   Debtor Name           EXCO Resources, Inc.

   United States Bankruptcy Court for the:                                             Southern District of Texas
                                                                                                            (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                               12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐      Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐      Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐      Schedule H: Codebtors (Official Form 206H)
      ☐      Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐      Amended Schedule
      ☒      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 50 Largest Unsecured Claims and Are
             Not Insiders (Official Form 204)
      ☒      Other document that requires a declaration Corporate Ownership Statement and List of Equity Security Holders

          I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                                                             /s/ Tyler Farquharson
                                       01/15/2018
                                       MM/ DD/YYYY                           Signature of individual signing on behalf of debtor
                                                                             Tyler Farquharson
                                                                             Printed name
                                                                             Chief Financial Officer, Treasurer, and Vice President
                                                                             Position or relationship to debtor



Official Form 202               Declaration Under Penalty of Perjury for Non-Individual Debtors
